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8                            UNITED STATES DISTRICT COURT
9                          CENTRAL DISTRICT OF CALIFORNIA
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      NICKY RIVERA, et al.,                      Case No. 18-01469-AB (RAOx)
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                      Plaintiffs,                ORDER GRANTING MOTION TO
12                                               DISMISS SECOND AMENDED
      v.                                         COMPLAINT
13
14    MIDWAY IMPORTING, INC., et al.,
15                    Defendants.
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17         Before the Court is Defendants Midway Importing, Inc.’s (“Midway”) and Grisi
18   USA LLC’s (“Grisi USA”) (together, “Defendants”) Motion to Dismiss Second
19   Amended Complaint (“Motion,” Dkt. No. 14). Plaintiffs Balmore Prudencio and
20   Michelle Quintero (“Plaintiffs”) filed an opposition and Defendants filed a reply. The
21   Court heard oral argument on December 14, 2018. For the following reasons, the
22   Motion is GRANTED.
23   I.    PLAINTIFF’S SECOND AMENDED COMPLAINT
24         Plaintiffs bring this putative class action on behalf of a nationwide class, and a
25   California subclass, who purchased four varieties of Grisi brand soap products (“Grisi
26   Soap Products” or “Products”) sold in boxes bearing the word “Natural.” See Second
27   Amended Complaint (“SAC,” Dkt. No. 34) ¶¶ 1-3. The Products are manufactured by
28   the Mexican firm Grisi Hnos SA De CV (“Grisi Mexico”). Id. ¶ 14. Plaintiffs allege
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1    that the label “Natural” is false, deceptive, and misleading because the Products
2    contain between one and three synthetic ingredients. Id. ¶ 2.
3          The Court previously dismissed the First Amended Complaint (“FAC”) with
4    leave to amend. See Order Dismissing FAC (“Order,” Dkt. No. 30). The FAC named
5    only Midway, the United States distributor of the Products, as a defendant. The Court
6    found that the FAC failed to plead any facts that would plausibly establish that
7    Midway may be held liable for a misleading label borne by products it does not
8    manufacture or advertise but only distributes.
9          Thereafter, Plaintiffs filed the SAC eliminating certain claims but adding a new
10   defendant: Grisi USA, LLC. The SAC alleges that Grisi USA is a subsidiary of Grisi
11   Mexico, id. ¶ 14., and includes facts that Midway and Grisi USA were both involved
12   in the Products’ misleading labels. See, e.g., SAC ¶¶ 15-21.
13         Based on these facts, Plaintiffs assert six causes of action: (1) for unfair,
14   unlawful, and fraudulent business practices in violation of the Unfair Competition
15   Law, Cal. Bus. & Prof. Code § 17200, et seq. (“UCL”); (2) violation of the Consumer
16   Legal Remedies Act, see Cal. Civ. Code § 1750, et seq. (“CLRA”); (3) breach of
17   express warranty; (4) violation of the Magnuson Moss Warranty Act, 15 U.S.C. §
18   2301, et seq. (“MMWA”); (5) violation of the consumer protection statutes of all
19   states; and (6) a common law claim for breach of the implied warranty of
20   merchantability. Counts 1 and 2—the UCL and CLRA claims—are brought on behalf
21   of the California subclass, while all other counts are brought on behalf of the entire
22   nationwide class. Defendants move to dismiss on numerous grounds.
23   II.   LEGAL STANDARD
24         Fed. R. Civ. Proc. (“Rule”) 8 requires a plaintiff to present a “short and plain
25   statement of the claim showing that the pleader is entitled to relief.” Fed. R. Civ. P.
26   8(a)(2). Under Rule 12(b)(6), a defendant may move to dismiss a pleading for “failure
27   to state a claim upon which relief can be granted.” Fed. R. Civ. P. 12(b)(6).
28         To defeat a Rule 12(b)(6) motion to dismiss, the complaint must provide
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1    enough factual detail to “give the defendant fair notice of what the . . . claim is and the
2    grounds upon which it rests.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007).
3    The complaint must also be “plausible on its face,” that is, the “complaint must
4    contain sufficient factual matter, accepted as true, to ‘state a claim to relief that is
5    plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Twombly,
6    550 U.S. at 570). A plaintiff’s “factual allegations must be enough to raise a right to
7    relief above the speculative level.” Twombly, 550 U.S. at 555. “The plausibility
8    standard is not akin to a ‘probability requirement,’ but it asks for more than a sheer
9    possibility that a defendant has acted unlawfully.” Id. Labels, conclusions, and “a
10   formulaic recitation of the elements of a cause of action will not do.” Twombly, 550
11   U.S. at 555.
12         A court may dismiss a complaint under Rule 12(b)(6) based on the lack of a
13   cognizable legal theory or the absence of sufficient facts alleged under a cognizable
14   legal theory. Balistreri v. Pacifica Police Dep’t, 901 F.2d 696, 699 (9th Cir. 1988).
15   When ruling on a Rule 12(b)(6) motion, “a judge must accept as true all of the factual
16   allegations contained in the complaint.” Erickson v. Pardus, 551 U.S. 89, 94 (2007).
17   The court must make all reasonable inferences in the plaintiff’s favor. Nordstrom v.
18   Ryan, 762 F.3d 903, 906 (9th Cir. 2014). But a court is “not bound to accept as true a
19   legal conclusion couched as a factual allegation.” Iqbal, 556 U.S. at 678 (internal
20   quotation marks omitted).
21         The court generally may not consider materials other than facts alleged in the
22   complaint and documents that are made a part of the complaint. Anderson v.
23   Angelone, 86 F.3d 932, 934 (9th Cir. 1996). However, a court may consider other
24   materials if (1) the authenticity of the materials is not disputed, and (2) the plaintiff
25   has alleged the existence of the materials in the complaint or the complaint
26   “necessarily relies” on the materials. Lee v. City of Los Angeles, 250 F.3d 668, 688
27   (9th Cir. 2001) (citation omitted). The court may also take judicial notice of
28   undisputed facts that are contained in extrinsic materials. Mir v. Little Co. of Mary
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1    Hosp., 844 F.2d 646, 649 (9th Cir. 1988); Lee, 250 F.3d at 689-90.
2    III.   DISCUSSION
3       A. The SAC is DISMISSED Because Plaintiffs Have Not Plead Facts that
4           Plausibly Establish Defendants’ Liability Under Any Legal Theory.
5           The Court has reviewed the SAC and finds that it does not cure the threshold
6    problem that was fatal to the FAC: the SAC fails to plead facts that plausibly alleged
7    that these Defendants are liable for the allegedly misleading packaging.
8           The gravamen of each and every one of Plaintiffs’ claims is that the label
9    “Natural” on the Products’ boxes is misleading. Plaintiffs must therefore plead facts
10   showing that these Defendants are responsible for that label. “[A] defendant’s liability
11   for unfair business practices must be based on his personal ‘participation in the
12   unlawful practices’ and ‘unbridled control’ over the practices.” In re Hydroxycut
13   Marketing and Sales Practices Litig., 299 F.R.D. 648, 656 (2014) (citing Emery v.
14   Vista Int’l Serv. Ass’n, 95 Cal. App. 4th 952, 960 (2002)). The same is true for claims
15   under the CLRA. See In re Jamster Mktg. Litig., No. 05CV0819 JM (CAB), 2009 WL
16   1456632, at *9 (S.D. Cal. May 22, 2009) (so holding). Indeed, courts generally reject
17   attempts to impose secondary liability for deceptive or fraudulent practices. See In re
18   Hydroxycut, supra, at *656-657 (so noting).
19          Plaintiffs attempt to show that Midway and Grisi USA were sufficiently
20   involved in the labeling of the Products to be held liable, see SAC ¶¶ 15-21, but their
21   allegations fall short. First, the allegations that Midway and Grisi USA are “together
22   responsible for labeling, marketing, and distributing Grisi Products in the United
23   States, including the soap Products at issue,” and that they “authorized the false,
24   misleading, and deceptive advertisements, labels, and packaging for the Products,”
25   SAC ¶¶ 15-16, are simply boilerplate that are of no weight on a motion to dismiss.
26   Second, the SAC’s scant non-conclusory factual allegations fail to establish either
27   Defendant’s participation in, or control over, placing the allegedly misleading
28   “Natural” label on the packages. Plaintiffs allege that Midway and Grisi USA have
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1    common employees, ownership, and business functions and are a common enterprise,
2    see id. ¶¶ 17, 19-21, but this does not establish that either entity did anything
3    actionable relative to the Products. Plaintiffs allege that Grisi Mexico acquired 51% of
4    Midway to have greater control over the marketing and distribution of its products, see
5    id. ¶ 18, and that Grisi USA is a subsidiary of Grisi Mexico, see id. ¶ 14, but this does
6    not establish that Midway or Grisi USA are responsible for the labels on Grisi
7    Mexico’s Products, nor does it overcome the “general principle of corporate law
8    deeply ‘ingrained in our economic and legal systems’ that a parent corporation . . . is
9    not liable for the acts of its subsidiaries.” United States v. Bestfoods, 524 U.S. 51, 61,
10   (1998) (citation omitted). The only factual allegation offered to link the Defendants to
11   the Product labels is that Oliver Pegueros, a business manager for “Grisi USA at
12   Midway,” is responsible for all business and marketing aspects of Grisi brands in the
13   United States. SAC ¶ 20. At most, this general allegation suggests that Defendants
14   may be involved in some aspect of marketing the Products, but it does not plausibly
15   give rise to any inference that they participated in or controlled the specific
16   misconduct alleged—labeling the Products “Natural.”1 Therefore, the SAC alleges no
17   facts to plausibly establish that either Midway or Grisi USA may be held liable for the
18   allegedly misleading label.
19         This ruling is dispositive of all of Plaintiffs’ claims because if no facts show
20   that these Defendants are responsible for the allegedly deceptive labels, it follows that
21   Defendants cannot be liable for the breach of warranty and consumer protection
22   claims also based on those labels. Therefore, the SAC will be dismissed in its entirety
23   on this basis, and the Court declines to rule on the other grounds argued in the motion.
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       At oral argument, Plaintiffs’ counsel repeatedly argued that the Defendants’ alleged
26   involvement in “marketing” the Products is enough to make Defendants liable for the
     Products’ allegedly misleading label. But again, “marketing” is a too general a term to
27   from which to infer Defendants are responsible for the labels. Plaintiffs’ counsel also
     argued that discovery would reveal the exact marketing Defendants conducted, but
28   this argument is tantamount to an admission that the SAC is inadequate.
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1          This is Plaintiffs’ third attempt to plead their claims. In response to the Court’s
2    previous Order finding that Plaintiffs could not assert their claims against Midway,
3    Plaintiffs named another third party as a defendant and declined to name manufacturer
4    Grisi Mexico. In light of Plaintiffs’ choice to again omit the manufacturer, the Court
5    finds that allowing further amendment would be futile. The action will therefore be
6    dismissed with prejudice.
7    IV.   CONCLUSION
8          Defendant’s Motion to Dismiss Second Amended Complaint is GRANTED.
9    The action is hereby DISMISSED WITH PREJUDICE. Defendants must file a
10   proposed Judgment within 7 days of the issuance of this Order. The Pretrial
11   Conference and Jury Trial dates are vacated.
12         IT IS SO ORDERED.
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15   Dated: December 18, 2018

16                               ______________________________________
17                               HONORABLE ANDRÉ BIROTTE JR.
                                 UNITED STATES DISTRICT COURT JUDGE
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